 Case 18-31185     Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37     Desc Main
                              Document     Page 1 of 6


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

         In re:                            Chapter 11

         Harlow N. Higinbotham,            Bankruptcy No. 18-31185

                            Debtor.        Honorable LaShonda A. Hunt


                              NOTICE OF MOTION
     Please take notice that, on February 14, 2019, at 10:00 a.m., or as soon
thereafter as counsel may be heard, the undersigned shall appear before the
Honorable LaShonda A. Hunt, United States Bankruptcy Judge for the Northern
District of Illinois, in Courtroom 719 of the United States Courthouse, at 219 South
Dearborn Street, Chicago, Illinois, to present the Motion of Gemma Allen &
Allen & Glassman to Extend Time to File a Complaint under 11 U.S.C. §
523, a copy of which is included herewith and served upon you, at which time and
place you may appear.

Dated: February 8, 2019                      Gemma Allen and Allen &
                                             Glassman, Chtd.
                                             By: /s/ William J. Factor
                                             One of Their Attorneys

William J. Factor (6205675)
Deborah K. Ebner, Of Counsel (6181615)
Jeffrey K. Paulsen (6300528)
FACTORLAW
105 W. Madison Street, Suite 1500
Chicago, IL 60602
Tel:    (847) 239-7248
Fax: (847) 574-8233
Email: wfactor@wfactorlaw.com
        dkebner@deborahebnerlaw.com
        jpaulsen@wfactorlaw.com




     {00132981}
  Case 18-31185      Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37     Desc Main
                                Document     Page 2 of 6


                              CERTIFICATE OF SERVICE
       I, William J. Factor, an attorney, hereby certify that on February 8, 2019,
pursuant to Section II.B.4 of the Administrative Procedures for the Case
Management/Electronic Case Filing System and Fed.R.Civ.P. 5(a), I caused a copy
of the foregoing Notice of Motion and the accompanying Motion to be served
electronically through the Court’s Electronic Notice for Registrants on all persons
identified as Registrants on the Service List below and by Federal Express on all
other persons identified on the Service List.

                                                /s/ William J. Factor
                                     SERVICE LIST
Registrants
(Service via ECF)

Bianca E. Ciarroni            bciarroni@freeborn.com, bkdocketing@freeborn.com

Michael K. Desmond            mdesmond@fslegal.com, dorisbay@fslegal.com

Deborah K. Ebner              dkebner@deborahebnerlaw.com,
                              webmaster@debnertrustee.com,
                              lizd@deborahebnerlaw.com

William J. Factor             wfactor@wfactorlaw.com, wfactorlaw@gmail.com,
                              bharlow@wfactorlaw.com, wfactor@ecf.inforuptcy.com,
                              wfactormyecfmail@gmail.com,
                              factorwr43923@notify.bestcase.com

Shira R. Isenberg             sisenberg@freeborn.com, bkdocketing@freeborn.com,
                              jhazdra@ecf.inforuptcy.com

Patrick S. Layng              USTPRegion11.ES.ECF@usdoj.gov

Jeffrey K. Paulsen            jpaulsen@wfactorlaw.com, bharlow@wfactorlaw.com,
                              jpaulsen@ecf.inforuptcy.com

Nathan Q. Rugg                Nathan.Rugg@bfkn.com, jean.montgomery@bfkn.com

Gregory K. Stern              greg@gregstern.com, steve_horvath@ilnb.uscourts.gov

Stephen G. Wolfe              steve.g.wolfe@usdoj.gov, jennifer.r.toth@usdoj.gov




{00132981}                               —2—
  Case 18-31185   Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37   Desc Main
                             Document     Page 3 of 6


Non-Registrants
(Service via Federal Express – Next Day)

Harlow N. Higinbotham
RD No. 2
2002 East Cass St.
Joliet, IL 60432



Harlow N. Higinbotham
1500 N. Lake Shore Drive
Unit 13-C
Chicago, IL 60610




{00132981}                            —3—
 Case 18-31185     Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37     Desc Main
                              Document     Page 4 of 6


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

         In re:                            Chapter 11

         Harlow N. Higinbotham,            Bankruptcy No. 18-31185

                            Debtor.        Honorable LaShonda A. Hunt

         MOTION OF GEMMA ALLEN AND ALLEN & GLASSMAN,
       CHARTERED TO EXTEND TIME TO FILE A COMPLAINT UNDER 11
                            U.S.C. § 523

     When a creditor needs additional time to investigate its claim against the
Debtor and, if warranted, file an action to have its debt declared nondischargeable,
the time to file a complaint under 11 U.S.C. § 523 should be extended. Here,
Gemma Allen and Allen & Glassman, Chtd. (“Allen”) hold claims against the
Debtor for, among other things, defamation.

                                1. BACKGROUND.

      Through other pleadings, the Court has been apprised already of the long-
running, multi-continental dispute over the failure of Harlow N. Higinbotham (the
“Debtor”) to pay child support to Wipaporn Teekhungam and the parties’ ten-year-
old triplets, A.H., A.H., and A.H (the “Support Creditors”). Allen has been counsel
for the mother and on behalf of the Support Creditors in the action for child support
pending against the Debtor in the Circuit Court of Cook County.
      During Allen’s representation of the of the mother and on behalf of the
Support Creditors, she learned during discovery in June 2018 that the Debtor and
his wife Susan intentionally and maliciously tried to humiliate, embarrass and
cause pain to Allen by, among other things, filing false statements with the United
States Department of State, the Chicago Police Department and actually to the
Internal Revenue Service on a joint tax return, stating that Allen was one of three




     {00132981}
  Case 18-31185      Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37       Desc Main
                                Document     Page 5 of 6


parties involved in “the elaborate scheme to defraud an Illinois family during these
16 years has involved extortion, blackmail, trickery, identity theft, credit card theft
and cash theft…$1.236 million was adjudicated to be due, and over $1 million more
in expenses and losses and costs incurred to defend fraudulent claims brought by
Ladden & Allen [the former name of Allen & Glassman, Chartered] are still in
process with hundreds of pages of court filings. [sic]

       These defamatory statements were false and are believed to be defamation per
se. Such a claim involving a clear intent and malice are not and should not be
dischargeable in bankruptcy under, among other provisions, 11 U.S.C. § 523(a)(6).

                                    2. DISCUSSION

        The deadline for objecting to the dischargeability of a specific claim is
February 11, 2019. A complaint under § 523(a)(2), (4), or (6) ordinarily must be filed
within 60 days after the first date set for the meeting of creditors under § 341(a).
Fed. R. Bankr. P. 4007(c). On a motion filed before expiration, the court may extend
that deadline. Id.
        Here, Allen has a claim against the Debtor as a result of his intentional and
malicious efforts to harass, humiliate, embarrass them by means of defamation per
se, among other things. However, Allen requires more time to investigate this claim
through discovery and, if warranted, to file an action against the Debtor under §
523(a).
        Wherefore, Gemma Allen and Allen & Glassman, Chtd. respectfully request
that the Court extend the deadline to file complaints under § 523(a)(2), (4), or (6) to
May 6, 2019, and grant such further relief as is appropriate in the circumstances.




{00132981}                                —2—
  Case 18-31185   Doc 92   Filed 02/08/19 Entered 02/08/19 17:25:37    Desc Main
                             Document     Page 6 of 6


Dated: February 8, 2019                    Respectfully submitted,

                                           Gemma Allen and Allen &
                                           Glassman, Chtd.

                                           By: /s/ William J. Factor
                                           One of Their Attorneys

William J. Factor (6205675)
Deborah K. Ebner, Of Counsel (6181615)
Jeffrey K. Paulsen (6300528)
FACTORLAW
105 W. Madison Street, Suite 1500
Chicago, IL 60602
Tel:    (847) 239-7248
Fax: (847) 574-8233
Email: wfactor@wfactorlaw.com
        dkebner@deborahebnerlaw.com
        jpaulsen@wfactorlaw.com




{00132981}                           —3—
